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Si, GREGORY AMOS

 
 
 

 

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA
(Hon. Dana M. Sabraw)

   

 

 

 

 

 

9|| UNITED STATES OF AMERICA, Cage No. 18-CR-429440MS
10 Plaintiff,
ae ACKNOWLEDGEMENT OF
12/| GREGORY AMOS, et al.,
13 Defendants. DIE OO rk ae am
14
iS I, GREGORY AMOS, hereby declare as follows:
16 That I am a Defendant in this case. I am aware that my attorney secured a
17|| continuance of my sentencing date. Without objection by the Government, the date
18/1 was moved from April 26, 2019 at 9:00 a.m in this Court to August 23, 2019 at 9:00
19|| a.m in this Court.
I promise to appear on that date and time without further Order of the Court.

I declare under penalty of perjury that the foregoing is true and correct, except \

as to those matters alleged upon ‘nformation and belief, and I do believe those to be

   

true.

Executed on March 21, 2019 at\ @n_D/Q@ California.
